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                                                                                     IL
                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OP VIRGINIA                         DEC-6,20l8
                             Richmond Division
                                                                          CLERK, U.S. DISTRICT COURT
                                                                                RICHMOND VA

UNITED STATES OF AMERICA

v.                                                      Criminal No. 3:18-cr-44

TIMOTHY A. WARD,

      Defendant.



                                 MBMORANDOM OPINION

      This matter is before the Court on DEFENDANT TIMOTHY A. WARD' s

OBJECTION TO PRESENTENCE INVESTIGATION REPORT.                     Ward objects to

the application of U.S.S.G. § 4Bl.l(b), an enhancement pursuant to

the   career-offender            provision    of      the   Guidelines,         in     his

Presentence Report ("PSR").            Ward contends that two of his prior

Virginia drug convictions do not qualify as "controlled substance

offenses" under the Guidelines, with the result that the provision

cannot      be    applied        to   enhance      his      Guidelines       sentence.

Specifically, Ward alleges that the phrase "controlled substance"

used in the Guidelines refers only to substances on the federal

drug schedules, and he states that the Virginia schedule includes

one   substance     (out    of    over 100)     not     included   in     the   federal

schedule.        According to Ward,          his two prior convictions under

Virginia     law-both      for     possession      of    heroin    with    intent         to
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distribute-do not qualify as "controlled substance" offenses under

the Guidelines.

     For the reasons set out below and on the record, the objection

was overruled during Ward's sentencing hearing.


                                  BACKGROUND

     A confidential source purchased 0.1645 grams of cocaine from

Ward. Afterward, Ward was charged with knowingly, intentionally,

and unlawfully distributing a mixture and substance containing a

detectable amount of cocaine-a Schedule II controlled substance-

in violation of 21      u.s.c. §§ 84l(a) (1) and 84l(b) (1) (C).
     This was not Ward's first time distributing drugs.                     In 2001,

he was convicted in federal court of distributing 17.7 grams of

cocaine   base,   for    which    he   served     a    sentence   of   84    months

imprisonment.     He was released in June 2008, but soon was back in

prison for violating his supervised release.

     After   serving     the     sentence   for       violation   of   supervised

release, Ward was arrested for, and later convicted of, two counts

of possessing heroin with intent to distribute it-on two different

occasions-in violation of Va. Code§ 18.2-248.               Specifically, Ward

was first found with heroin early in the morning on June 21, 2010,

when officers arrested him outside a club carrying 6 grams of the

substance.    Then, on August 25, 2010, Ward was found with more

heroin (3 grams, to be exact) when he was arrested on that date.
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On January 24, 2011, Ward was sentenced on the June 21 charges to

ten years imprisonment with seven years and ten months suspended.

On the second charge, Ward was sentenced to ten years imprisonment

with six years and nine months suspended.                  The sentences were to

run concurrently.                Thus,   in total,    Ward has three prior drug

possession convictions in addition to the distribution-of-cocaine

charge in this case.

                                         DISCUSSION

       Ward objects to the PSR's calculation of his sentence, arguing

that his two prior Virginia drug convictions from 2011 are not

"controlled substance offenses" as contemplated by the Guidelines.

ECF No.          25. 1   Ward takes the view that a categorical approach

requires state statutes that regulate "controlled substances" to

regulate only the substances that are also listed in the federal

drug schedules.            Id.    (citing United States v. Townsend, 897 F.3d

66 (2d. Cir. 2018); United States v. Gomez-Alvarez, 781 F.3d 787,

793-94 (5th Cir. 2015); United States v. Leal-Vega, 680 F.3d 1160,

1166-67 (9th Cir. 2012); United States v. Sanchez-Garcia, 642 F.3d

658,       661     (8th Cir.     2011)) .   The Virginia law applicable here


       As the Government notes, Ward does not contest that his
       1

federal conviction from 2001 is a "controlled substance offense,"
ECF No. 2 9, so only one other conviction is necessary for the
enhancement to apply.   See U.S.S.G. § 4Bl.l.   But, because both
convictions fall under the same Virginia statute, the Court must
determine whether convictions under that statute are covered by
the Guidelines.
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includes at least one substance,            out of over 100,           that is not

included on the federal schedule: Salvinorin A.               See Va. Code Ann.

§ 18.2-248; Va. Code§ 54.1-3446(3).             Consequently, a conviction

under§ 18.2-248 could be based on a substance that is not covered

in the federal schedules.          According to Ward, under a categorical

approach,      this possibility makes an offense under that statute

broader than the generic controlled substance offense in Section

4Bl.2(b).      Thus, in Ward's view, a violation of§ 18.2-248 cannot

count as a prior controlled substance offense under a categorical

approach.      ECF No. 25.

       For the reasons set out in the record and as discussed more

fully below, that argument lacks merit.


I. Legal Background

       The Court uses a categorical approach when "the enumerated

generic     offense   is   a   traditional,    common-law crime."           United

States v. Alfaro, 835 F.3d 470, 474 (4th Cir. 2016).               A categorical

approach "considers 'how the law defines the offense,' not 'how an

individual      offender   might    have    committed   it    on   a    particular

occasion."'       United States v.     Thompson,   874 F.3d 412,          417    (4th

Cir.   2017)    (quoting Begay v.      United States,        553 U.S.     137,   141

(2008)).       That is done under the guidelines             "based on how the

offense is defined 'in the criminal codes of most states.'"                 United



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States v.    Peterson,   629 F. 3d 432,   436   (4th Cir.   2011)   (quoting

Taylor v. United States, 495 U.S. 575, 598 (1990)) . 2

     But the Court does not need to use a categorical approach

when the Guidelines phrase "does not describe a traditional common-

law crime,    and the phrase thus does not invoke an established,

generic structure."      Alfaro, 835 F.3d at 474.     In those cases, the

Court,   "instead look [s]   to the plain,      ordinary meaning of the

language used by the Guidelines."         Id.

     This case fits      the latter approach,     because a    "controlled

substance offense" is not a traditional, common-law crime.


ii. Convictions Under Va. Code§ 18.2-248 Qualify as "Controlled
     Substance Offensesn as Defined by U.S.S.G. § 4B1.2(b)

     In full, U.S.S.G. 4B1.2(b) says,

     The term "controlled substance offense" means an offense
     under federal or state law, punishable by imprisonment
     for a term exceeding one year, that prohibits the
     manufacture, import, export, distribution, or dispensing
     of a controlled substance (or counterfeit substance) or
     the possession of a controlled substance (or counterfeit



     2 Further, a modified categorical approach is used only if the
prior state conviction rests on a statute that "contains divisible
categories of proscribed conduct,       at least one of which
constitutes-by its elements-a violent felony."         Id. at 417
n.4 (quoting United States v. Gomez, 690 F.3d 194, 199(4th Cir.
2012)).   Under a modified categorical approach, "a court may
examine a limited universe of documents relevant to the underlying
conviction for the sole purpose of determining which part of the
statute the defendant violated." Id.
     But, as discussed below, based on the interpretation of
§ 18.2-248 set out herein, there is no need to address whether§
18.2-248 is divisible under a modified categorical approach.
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      substance) with intent to manufacture, import, export,
      distribute, or dispense.
Id.   (emphasis     added).    The   ordinary meaning       of     "controlled

substance"   is     "any type of drug whose possession and use is

regulated by law."       Controlled Substance, Black's Law Dictionary

(10th ed. 2014).

      Ward's state convictions were under§ 18.2-248, which makes

it unlawful "for any person to manufacture, sell, give, distribute,

or possess with intent to manufacture, sell, give or distribute a

controlled substance or an imitation controlled substance."                 Va.

Code§ 18.2-248(A).        That statute also sets penalties for "any

person who violates this section with respect to a controlled

substance classified in Schedule I or II."               Id. § 18.2-248(C).

"Schedule I or II," in turn, "refer[s] to those terms as they are

used or defined in the Drug Control Act ( § 54 .1-3400 et seq.) . "

Id. § 18.2-247(A).      The substances listed in those two schedules

are largely the same as those listed in the corresponding federal

schedules.   Compare Va. Code§ 54.1-3446, with 21 C.F.R. § 1308.11

(Schedule    I) ;    compare   Va.         Code   §   54.1-3448,     with    21

C.F.R. § 1308.12      (Schedule II).        All the substances listed in

Virginia Schedule II are also listed in the federal Schedule II.

However, Virginia Schedule I includes one substance, Salvinorin A,

that is not listed in any federal schedule.            See Va. Code§ 54.1-


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3446(3).         Thus,        Ward reasons         that his prior state convictions

should not count for purposes of the Guidelines.

        The Fourth Circuit recently considered this question in its

unpublished opinion in United States v. Pritchett,                                733 F. App'x

128     (2018)     (per       curiam)     (unpublished).            There,        the   Court     of

Appeals held that the defendant's conviction for possession of

cocaine with intent to distribute in violation of Va. Code Ann. §

18.2-248         (the    same     statute       challenged         in     this    case)    was     a

controlled substance offense. Pritchett, 733 F. App'x at 130.                                     In

Pritchett, the Court of Appeals, however, did not explicitly hold

whether the statute was unambiguous or whether it applied either

a     categorical        approach        or    a       modified     categorical         approach.

Instead,     the        Fourth Circuit          relied on         its     previous      published

decision in United States v. Mills, 485 F.3d 219 (4th Cir. 2007),

wherein the issue was whether a defendant's prior simulated drug

conviction        was     a     "counterfeit           substance"       offense    and    thus     a

"controlled         substance           offense"        within      the     meaning       of     the

Guidelines.         Id. at 220.          Concluding that, even though Virginia's

"counterfeit substance" statute defined the punishable substances

more broadly than the definition of "counterfeit substance" in the

Controlled Substances Act                 {"CSA"),        the Fourth Circuit held,                in

Mills,      that        convictions           under      the      Virginia       statute       were

nonetheless "controlled substance offenses."                              Id. at 222-23.          It


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did so for two reasons. First, the Court found that the Guidelines

provision-u.s.s.G.       §    4B1.2(b)-did not contain any references to

the CSA, which was notable given the frequency of cross-references

to other guidelines and statutes throughout the guidelines.                 See

id. at 223.      And, the Court concluded that it could not presume

that this omission was inadvertent.          Id.     Second, the Court found

that the plain meaning of "counterfeit" included substances that

were "made in imitation of" controlled substances and that applying

the    federal   definition      of   "counterfeit    substance"   would,    in

effect, "read the word 'state' out of Section 4B1. 2."             Id. at 222-

24.

       Without explanation,        Ward urges that Pritchett and Mills

should be ignored and argues instead to apply the Second Circuit's

recent published decision in United States v. Townsend.              There, a

defendant pleaded guilty to possessing a controlled substance,

alprazolam, with intent to distribute it in violation of 21 u.s.c.

§§    84l(a) (1) and 84l(b) (2).      897 F.3d at 68.    His PSR determined

that an enhancement applied to the defendant because of two prior

convictions.       Id.       One of those was a       felony conviction for

possession of a controlled substance under New York law. Id. The

New York statute prohibited Human Chorionic Gonadotropin, which,

like Salvinorin A,           is not on the federal schedule.         Id.    The

Second Circuit held that a "controlled substance" included only

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drugs on the federal drug schedule.         Id.   The Second Circuit did

so because it found that the Guidelines were ambiguous, id. at 70-

71, and took the view that U.S.S.G. § 4Bl.2(b) would clarify that

the controlled substance could be under either federal or state

law if the Commission wanted both to be covered by the enhancement.

Id.      In its view,       the Jerome presumption-which is         that   "the

application of a federal law does not depend on state law unless

Congress plainly indicates otherwise," id. at 71 (citing Jerome v.

United States, 318 U.S. 101, 104 (1943))-applies to the Guidelines,

meaning that they should be read narrowly with a presumption that

federal standards alone apply.        Id.   The decision in Townsend is

not persuasive.

      Considering that the Fourth Circuit has held that a cocaine

possession offense under Va. Code Ann. § 18.2-248 was a controlled

substance offense, and considering the plain language of U.S.S.G.

§ 4Bl.2(b), the Court finds that§ 4Bl.2(b) unambiguously covers

Ward's two prior state convictions.         Applying the principles set

out in Mills,       the Court finds that U.S. S. G.       § 4Bl. 2 (b)   is not

limited to 21 U.S.C. § 802(6) 's definition of controlled substance.

First,    §   4Bl.2 (b)   does not cross reference    §    802 (6), which is

important "because the Sentencing Commission clearly knows how to

cross-reference when it wants to . . . . The Sentencing Guidelines

are a veritable maze of interlocking sections and statutory cross-

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references."          Mills,   485    F. 3d at 223.          If Congress wished to

define "controlled substance" in reference to a limited technical

term, it would include a cross-reference to§ 802(6).                       See id. at

224.

       Second,       "(i]t is a cornerstone of statutory interpretation

that   an undefined        term      is    construed    'in accordance        with    its

ordinary or natural meaning.'"                See id. at 220.      And the ordinary

meaning of       "controlled substance"           is    "any type of drug whose

possession and use is regulated by law."                      Controlled Substance,

Black's Law Dictionary (10th ed. 2014).                    Virginia's law clearly

satisfies this definition.                See Va. Code Ann.§ 18.2-248(A) ("[I]t

shall be unlawful          for    any person to manufacture,              sell,     give,

distribute, or possess with intent to manufacture, sell, give or

distribute       a   controlled      substance     or   an    imitation    controlled

substance.").

       Third, the plain text of the Guideline supports applying state

controlled-substance convictions. Section 4Bl.2(b) refers to "an

offense under federal or state law," indicating that a "controlled

substance"   is one controlled by either a                    state or the United

States.      Id.       (emphasis      added).       So,      applying   the       federal

definition of "controlled substance" here would, in effect, "read

the word 'state' out of Section 4Bl.2."                   Mills, 485 F.3d at 224.




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     Moreover, the categorical-approach prec~dent from the Supreme

Court does not support Ward's interpretation.            The Supreme Court

has applied the categorical approach partially because it believes

the text of Congress's statutes supports that approach.                      See

Mathis v. United States, 136 S. Ct. 2243, 2252 (2016)                 (stating

that the Court applies an "elements-only" categorical approach

because    "[the Armed Career Criminal Act's]           text     favors     that

approach" and because "Congress chose" that course); Johnson v.

United States, 135 S. Ct. 2551, 2562 (2015) (focusing on Congress's

intentions and stating that the "'only plausible interpretation'

of the law . . . requires use of the categorical approach" (quoting

Taylor, 495 U.S. at 602).         Here, the text supports finding that

convictions for controlled substance offenses under either state

or federal law should apply to the enhancement.                 See U. S . S . G.

4Bl.2(b)    ("The   term   'controlled    substance   offense'      means     an

offense under federal or state law . . . . ").

     And, doing as Ward urges would be inconsistent with the Fourth

Circuit's    decision      in   Mills:    Section   4Bl . 2    contains      the

"controlled substance" provision at issue here right next to the

"counterfeit substance" provision at issue in Mills.             Both should

be interpreted the same way, because it is hard to imagine that

the Sentencing Commission intended the two to be interpreted

differently when placing them within the same paragraph and using

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them interchangeably.       Thus, the Court here follows Mills' holding

that "the Sentencing Commission,             by specifying that federal and

state violations serve as predicate offenses for career-offender

status, clearly intended for repeat offenders of both state and

federal counterfeit crimes to be subject to an enhanced sentence."

485 F.3d at 224 (emphasis in original).

     Fourth,      the   Court   notes   that    federal    law differentiates

between a    "serious     drug offense"        and a   "controlled substance

offense."   A "serious drug offense" is defined as either:

            (i)    an   offense    under   the    Controlled
                   Substances Act (21 U.S.C. 801 et seq.),
                   the Controlled Substances Import and
                   Export Act (21 u.s.c. 951 et seq.), or
                   chapter 705 of title 46, for which a
                   maximum term of imprisonment of ten years
                   or more is prescribed by law; or

            (ii) an offense under State law, involving
                 manufacturing,      distributing,     or
                 possessing with intent to manufacture or
                 distribute, a controlled substance (as
                 defined in section 102 of the Controlled
                 Substances Act (21 u.s.c. 802)), for
                 which a maximum term of imprisonment of
                 ten years or more is prescribed by law.

18   U.S.C. § 924(e)(2)(A)        (emphasis      added).       If   the   state

convictions that qualify as "serious drug offenses" are supposed

to be different than those that qualify as "controlled substances

offenses" under Section 4B1. 2 (b) ,          the only apparent distinction

implied by§ 924's language is that the former must be based on



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the federal controlled substances schedules while the latter do

not.

       Finally, as the Government notes, ward's interpretation of

§ 4Bl.2(b) would lead to absurd results: if a state recognized a

new drug before federal authorities did, then every state drug

conviction in the interim-including those convictions for heroin,

cocaine, methamphetamine, and other drugs clearly prohibited under

both state and federal law-would be excluded from counting as a

"controlled substance offense" so long as the federal and state

schedules were not exactly the same. 3


       Ward further argues that § 18. 2-248 is overbroad because
       3

(1) there should be a mens rea requirement that a defendant must
know that he has a substance that violates the federal schedules,
and (2) Virginia's aiding-and-abetting liability goes further than
federal liability by allowing a defendant to be convicted even if
he merely approved of a crime and was present during its
commission. ECF No. 25.
     Ward's mens rea argument is meritless, because both the
Virginia statute and the federal statute require only that the
defendant knowingly carried a controlled substance that violated
their respective schedules. There is no requirement in§ 4Bl.2(b)
that limits the mens rea for state drug offenses to knowledge of
the federal schedules.
     Ward's aiding-and-abetting argument-that "Virginia's aiding
and abetting liability is overbroad and indivisible," ECF No. 25-
similarly fails, because there is no case law to support that
Virginia has a different standard of aiding-and-abetting liability
than the federal standard.    Generic aiding and abetting has two
aspects. First, the defendant must have the "'specific intent to
facilitate the commission of a crime by someone else.'" United
States v. Valdivia-Flores, 876 F.3d 1201, 1207 (9th Cir. 2017)
(emphasis in original) (quoting United States v. Garcia, 400 F.3d
816, 819 (9th Cir. 2005)).    Second, the aider and abettor must
render some assistance to the principal "'by words, acts,
encouragement, support, or presence.'" United States v. Cammorto,
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                               CONCLUSION

     For the foregoing reasons and those set forth on the record

at   sentencing,   DEFENDANT     TIMOTHY       A.     WARD' S   OBJECTION    TO

PRESENTENCE   INVESTIGATION    REPORT    was        overruled   during   Ward's

sentencing hearing.

     The Clerk is directed to send a copy of this Memorandum

Opinion to the Clerk of the United States Court of Appeals for the

Fourth Circuit.


                                                        /s/
                                  Robert E. Payne
                                  Senior United States District Judge


Richmond, Virginia
Date: December 6, 2018




859 F.3d 311, 317 (4th Cir. 2017) (emphasis in original) (quoting
Rosemond v. United States,        572 U.S. 1240, 1246      (2014)).
Virginia's interpretation of accomplice liability is consistent
with this formulation.     See Thomas v. Commonwealth, 688 s. E. 2d
220, 235 (Va. 2010) (stating that the aider and abettor must commit
"some overt act done knowingly in furtherance of the commission of
the crime" or "share[] in the criminal intent of the principal
committing the crime" and that an accomplice must "encourag [el ,
incit[e], or in some manner offer(] aid in the commission of the
crime," including by being "present lending countenance").
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